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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA


  JOHN DOE,                                               Case No. 6:18-cv-01069-RBD-KRS

  Plaintiff,                                              Judge: Dalton, Jr.

  v.                                                       PLAINTIFF’S MOTION FOR
                                                           RECONSIDERATION OF THE
  ROLLINS COLLEGE                                          COURT’S DECISION GRANTING
                                                           DEFENDANT’S MOTION FOR
  Defendants                                               SUMMARY JUDGMENT ON
                                                           PLAINTIFF’S TITLE IX SELECTIVE
                                                           ENFORCEMENT CLAIM


         Pursuant to Fed. R. Civ. P. 54(b), Plaintiff John Doe respectfully submits this Motion for

 Reconsideration of the Court’s Decision Granting Defendant’s Motion for Summary Judgment on

 Plaintiff’s Title IX Selective Enforcement claim. Reconsideration in this case is warranted because of

 a new circuit court opinion contrary to this Court’s opinion on the selective enforcement issue: Doe

 v. Univ. of the Sciences, 3d Cir. No. 19-2966, 2020 U.S. App. LEXIS 17123 (May 29, 2020).

 A.      Standard

         Although the Federal Rules of Civil Procedure do not specifically provide for the filing of

 motions for reconsideration, this Court has the discretion to reconsider interlocutory orders and revise

 or amend them at any time prior to final judgment. See Fed. R. Civ. Proc. 54(b); Marconi Wireless

 Telephone Co. v. United States, 320 U.S. 1, 47-48 (1943). Under Rule 54(b), “any order or other decision,

 however designated, that adjudicates fewer than all the claims or the rights and liabilities of fewer than

 all the parties... may be revised at any time before the entry of a judgment adjudicating all the claims

 and all the parties' rights and liabilities." Rule 54, therefore, grants this Court discretion to revise or

 reconsider its orders at any time prior to final judgment. Herman v. Hartford Life and Acc. Ins. Co., 508

 Fed. Appx. 923, 927 fn.1 (11th Cir. 2013).



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         While Rule 54(b) does not specify a standard for reconsideration, courts in the Eleventh

 Circuit have recognized three primary grounds that justify reconsideration: “(1) an intervening change

 in controlling law; (2) the availability of new evidence; and (3) the need to correct clear error or prevent

 manifest injustice.” Burger King Corp. v. Ashland Equities, Inc., 181 F. Supp. 2d 1366, 1369 (S.D. Fla.

 2002), citing Z.K. Marine, Inc. v. M/V Archigetis, 808 F. Supp. 1561, 1563 (S.D. Fla. 1992)).

 B.      This Court Should Reconsider And Reverse The Decision Granting Defendant
         Summary Judgment On Plaintiff’s Selective Enforcement Claim

         1.      Basis For Reconsideration

         Plaintiff acknowledges that “Reconsideration of a previous order is an extraordinary remedy

 to be employed sparingly.” Henns v. Mony Life Ins. Co. of Am., M.D.Fla. No. 5:11-cv-55-Oc-37TBS,

 2012 U.S. Dist. LEXIS 204876, at *3-4 (Mar. 9, 2012), citing Burger King Corp. v. Ashland Equities, Inc.,

 181 F. Supp. 2d 1366, 1369 (S.D. Fla. 2002). Id. This court has power, both inherently and under

 Rule 54(b), to reconsider a ruling before entry of a final appealable judgment “if there is a compelling

 reason, such as a change in, or clarification of, law that makes clear that the earlier ruling was

 erroneous.” See Santamarina v. Sears, Roebuck & Co., 466 F.3d 570, 571-72 (7th Cir. 2006) (citing cases).

         Reconsideration in this case is warranted because of a new circuit court opinion contrary to

 this Court’s opinion on the selective enforcement issue: Doe v. Univ. of the Sciences, supra. While

 ordinarily a change in the law refers to controlling authority (such as an opinion from the Eleventh

 Circuit or the U.S. Supreme Court), this Court observed in its March 9, 2020 Order that “The U.S.

 Court of Appeals for the Eleventh Circuit has not defined how to analyze a Title IX challenge to a

 university’s disciplinary proceeding.” Order at PageID#3306. As a result, where the the Eleventh

 Circuit – and this Court – have relied on opinions from other circuits, a new decision contrary to this

 Court’s decision creates a situation where reconsideration is appropriate under either the theory that




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 the decision represents a clarification or change in the law or, alternatively, the new decision illustrates

 a manifest injustice in this case.1

           2.      Reconsideration Is Appropriate To Account For A Clarification Of The Law Or
                   To Prevent Manifest Injustice

           Plaintiff argued, in support of his Selective Enforcement claim, that gender bias could be

 inferred because Rollins officials failed to initiate a disciplinary process with respect to Jane Roe after

 receiving credible information that Jane Roe, in addition to John Doe, may have violated the sexual-

 misconduct policy by engaging in sexual activity with John Doe while John Doe was incapacitated due

 to alcohol. The Court rejected this argument and granted summary judgment to Defendants on the

 Title IX Selective Enforcement claim. The primary grounds for the Court’s decision is that John Doe

 could not be similarly situated to Jane Roe because John Doe never initiated a complaint with the

 school. This Court said:

           Doe says Jane Roe was similarly situated because they were both drunk during the
           February incident and Rollins did not investigate whether Doe could have consented to
           sexual activity. (Doc. 56, pp. 22–28.) This isn’t enough. “An accused student and his or
           her accuser can be compared to show selective enforcement if the parties allege
           misconduct against each other,” but the two can’t be compared “if the accused student
           did not similarly initiate or attempt to initiate a complaint against his or her accuser.”

 Order at PageID#3315, quoting Rossley v. Drake Univ., 342 F. Supp. 3d 904, 933 (S.D. Iowa 2018).

           The Third Circuit reached the exact opposite conclusion in Doe v. Univ. of the Sciences, supra.

 The facts of Univ. of Sciences are on strikingly similar to the facts of this case in this respect. In Univ. of

 Sciences the school, like Rollins in this case, did not require a complaint to initiate a Title X investigation

 but, instead, had a ‘mandatory reporting requirement’ that permitted the school to act whenever a

 responsible employee received information about potential sexual misconduct. As in this case, both

 the accused student and the complainant had been drinking and engaged in sexual intercourse. And,




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     This is particularly true where no other circuit has held otherwise.
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 as in this case, the complainant later alleged that she was unable to provide consent because she was

 intoxicated.

          The Third Circuit in Univ. of Sciences held that Plaintiff could maintain a selective enforcement

 claim even though the accused student had told the investigator that the sexual activity was consensual

 and never submitted a complaint. The Third Circuit explained that a selective enforcement claim was

 tenable under this fact pattern because the school was ‘aware’ that both the accused student and the

 could have been intoxicated. The court said, “Doe initially told the investigator that his sexual

 encounter with Roe 2 was mutually consensual…. But under the Policy, Doe's allegation that he and

 Roe 2 were comparably intoxicated undermined his ability to give affirmative consent, just as it

 impaired hers.” 2020 U.S. App. LEXIS 17123, at *14 n. 4. The Third Circuit, thus, expressly declined

 to accept the reasoning this Court cited to reject Plaintiff’s Selective Enforcement claim – that Jane

 Roe is not a valid comparator because “Jane Roe reported sexual misconduct to Rollins; Doe did not.”

 Order at PageID#3315. In other words, where this Court said that the awareness of a school of

 possible sexual misconduct in the absence of a formal complaint “isn’t enough,” the Third Circuit said

 that this is sufficient.2

          Notably, the Third Circuit relied upon the decision of the Sixth Circuit in Doe v. Miami Univ.,

 882 F.3d 579, 596 (6th Cir. 2018). This Court expressly declined to follow this opinion. Order,

 PageID#3315-3316. In Miami Univ., supra, the Sixth Circuit held that a school’s obligations turn not

 on the formality of whether a party submits a complaint through the formal Title IX process, but on

 whether the school “had credible information that both students had potentially violated the

 University's sexual misconduct policy [but] . . . chose not to pursue disciplinary action against” one of



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  Defendant may, of course, argue to the jury that John Doe and Jane Roe are not similarly situated
 because only Jane Roe submitted a complaint. The point of Univ. of the Sciences is that this is an issue
 of fact for the jury, and is not a dispositive fact warranting summary judgment as a matter of law.

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 the students. 882 F.3d at 596. This Court rejected the application of the Univ. of Miami standard

 because, this Court believed,3 Univ. of Miami was a deliberate indifference, and not a selective

 enforcement, case. But, the citation to Univ. of Miami by the Third Circuit in Univ. of the Sciences

 demonstrates that the analysis of Univ. of Miami can be properly applied to Title IX selective

 enforcement claims.4

                                            CONCLUSION

         The Court should reconsider the Court’s Decision granting defendant’s motion for summary

 judgment on Plaintiff’s Title IX Selective Enforcement claim on the basis of the decision in Univ. of

 the Sciences. The Court should deny the Motion for Summary Judgment and set this matter for trial on

 Count II in addition to the currently scheduled trial.




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   This Court said, “Miami Univ. is inapposite as it deals with a deliberate indifference claim at the
 pleading stage, which does not require a similarly situated individual.” Order, PageID#3316.
 Respectfully, this was erroneous. While the lack of a complaint by the plaintiff in that case was
 discussed in the context of a deliberate indifference claim, the relevant portion of the Miami Univ.
 decision also arose in the context of a separate equal protection claim, which does require the
 identification of a similarly situated individual. 882 F.3d at 595-596. In fact, this Court cited to the
 equal protection aspect of Miami Univ. in its discussion of Plaintiff’s selective enforcement claim in
 denying the Motion to Dismiss. 352 F. Supp. 3d at 1212.
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  Plaintiff further observes that in another case decided subsequent to this Court’s Summary Judgment
 Order, a district court denied cross motions for summary judgment on a selective enforcement claim
 where the accused student and the complainant were intoxicated, but only the complainant had
 submitted a report to the school. That court said:
         [The accused student] is also different from [the complainant], the University argues,
         because Doe never presented a disciplinary complaint to [the University] about the
         incident…. [T]here are questions of fact about whether gender bias motivated the fact that
         Plaintiff received a penalty for the incident and [the complainant] did not. Those are
         questions for the jury to decide…
 Doe v. Syracuse Univ., N.D.N.Y. No. 5:17-cv-787, 2020 U.S. Dist. LEXIS 75995, at *47 (Apr. 30, 2020).


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                                                          Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

 This certifies that the foregoing was filed electronically on June 11, 2020. Notice of this filing will
 be sent to all parties by operation of the Court’s electronic filing system.


                                                          ____/s/ Joshua Engel ______
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                                                          (pro hac vice)

                                 CERTIFICATION OF COUNSEL

         Pursuant to Local Rule 3.01(g), the undersigned counsel certifies that before filing this Motion
 counsel conferred with counsel for the opposing party in a good faith effort to resolve the issues raised
 by the motion and obtain the relief sought without court action. Counsel for the opposing party did
 not agree on the resolution of the motion.

                                                          ____/s/ Joshua Engel ______
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